       Case 1:05-cr-00112-DAD Document 108 Filed 02/17/15 Page 1 of 2


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     Federal Defender
 2   DAVID M. PORTER, Bar #127024
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 5
     Attorney for Movant
 6   SIRILO CAMACHO ALVAREZ

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 8
                                    UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                         No. 1:05-cr-00112-AWI-3
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                       Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
13                                                     DEADLINE AND AMEND BRIEFING
            v.                                         SCHEDULE; ORDER
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     SIRILO CAMACHO ALVAREZ,
15                                                     Judge: Honorable ANTHONY W. ISHII
                       Defendant.
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            Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
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     hereby requests that the deadline to file a supplement to defendant’s pro se motion be extended to
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     February 27, 2015 and that the corresponding deadlines for government response and defense
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     reply be extended to March 6, 2015 and March 13, 2015, respectively. Government counsel has
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     graciously indicated she has no objection.
21
     Dated: February 13, 2015
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                                                         Respectfully submitted,
23
                                                         HEATHER E. WILLIAMS
24                                                       Federal Defender
25
                                                         /s/ David M. Porter
26                                                       DAVID M. PORTER
                                                         Assistant Federal Defender
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       Case 1:05-cr-00112-DAD Document 108 Filed 02/17/15 Page 2 of 2


 1                                               ORDER
 2          Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered

 3   that the supplement to defendant’s pro se motion may be filed on or before February 27, 2015;

 4   the government’s response to supplement shall be filed on or before March 6, 2015; and, the

 5   defendant’s reply shall be filed on or before March 13, 2015.

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     IT IS SO ORDERED.
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     Dated: February 17, 2015
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                                                SENIOR DISTRICT JUDGE
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